Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 1 of 28
1844 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of:court, This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

 

 

I. (a) PLAINTIFFS DEFENDANTS
Yakitori Boy, Inc. Starr Indemnity & Liability Co., Samuel Sierra
(b) County of Residence of First Listed Plaintiff Philadelphia, PA County of Residence of First Listed Defendant _ Dallas County, TX
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (If Known) .
James L. Pearl William P Shelley & Alexander Brown (attorneys for Starr Indemnity)
Law Office of James L. Pearl Gordon & Rees LLC
1500 John F. Kennedy Boulevard, Suite 900, Philadelphia, PA 19103 Three Logan Square, Suite 610, Philadelphia, PA 19103
Il. BASIS OF JURISDICTION (Place.an “X” in One Box Only) IU. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
O01 US. Government O03. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This. State x1 © > 1 Incorporated or Principal Place o4 04
of Business In This State
QO 2. U.S. Government A4 Diversity Citizen of Another State O 2 & 2 Incorporated and Principal Place o5 5
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of 4 03 O 3. Foreign Nation go6« 06

 

Foreign Country
IV. NATURE OF SUIT (Place an *X” in One Box Only)

   
 

Click here for: Nature of Suit Code Descriptions.

 

2.110 Insurance PERSONAL INJURY PERSONAL INJURY =| 625 Drug Related Seizure G 422 Appeal 28 USC 158 1 375 False Claims Act

 
 

 

120 Marine OF 310 Airplane (J 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal OF 376 Qui Tam (31 USC
G 130 Miller Act 0 315 Airpiane Product Product Liability © 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability 0 367 Health Care/ O 400 State Reapportionment
OF 150 Recovery of Overpayment. | 320-Assault, Libel & Pharmaceutical é O 410 Antitrust

& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 1 430 Banks and Banking
O 151 Medicare. Act 0 330 Federal Employers’ Product Liability G 830 Patent 1 450 Commerce
0 152. Recovery of Defaulted Liability C1 368 Asbestos Personal (7 835 Patent - Abbreviated © 460 Deportation

Student. Loans C1 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and

(Excludes Veterans) OF 345 Marine Product Liability a an aa Corrupt Organizations
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY JABO CIAL RIF | 480 Consumer Credit

of Veteran’s Benefits 0 350 Motor Vehicle © 370 Other Fraud 0 710 Fair Labor Standards Oo eel HIA TE 0 490 Cable/Sat TV
C1 160 Stockholders’ Suits 0 355 Motor Vehicle 371 Truth in Lending Act OG 862 Black Lung (923) C1 850 Securities/Commodities/
6 190 Other Contract Product Liability © 380 Other Personal 0 720 Labor/Management. (J 863 DIWC/DIWW (405(g)) Exchange
0 195 Contract Product Liability | 360 Other Personal Property Damage Relations (J 864 SSID Title XVI O 890 Other Statutory Actions
) 196 Franchise Injury 385 Property Damage 0 740 Railway Labor Act CI 865 RSI (405(g)) C1 891 Agricultural Acts

C} 362 Personal Injury - Product Liability 0 751.Family and Medical 0 893 Environmental Matters

Leave Act 0) 895 Freedom of Information
240) 790 Other Labor Litigation AL: : Act

 
 

 
      

4 870 Taxes Us S. Plaintiff

 

Habeas Corpus:

 

0 210 Land Condemnation 0 440 Other Civil Rights 0 791 Employee Retirement C1 896 Arbitration .
©. 220 Foreclosure 0 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure
© 230 Rent Lease.& Ejectment © 442 Employment 0 510 Motions'to Vacate C1 871 IRS-Third Party Act/Review or Appeal of
© 240 Torts to Land ©) 443 Housing/. Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations O 530 General ©) 950 Constitutionality of
C1 290 All Other Real Property Cl 445 Amer, w/Disabilities - | 535 Death Penalty State. Statutes
Employment Other: C1 462 Naturalization Application
0) 446 Amer. w/Disabilities -] 540 Mandamus & Other |{ 465 Other Immigration
Other 1 550 Civil Rights Actions
0 448 Education 0 555 Prison Condition

CO 560 Civil Detainee -
Conditions of

 

 

 

 

 

Confinement
V. ORIGIN (Place an “X” in One Box Only)
1 Original [K2 Removed from O 3  Remanded from 0 4 Reinstated-or > 5S Transferredfrom © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
28 U.S.C. §1332(a) & 28 U.S.C. § 1441

Brief description of cause:
Insurance contract dispute regarding the applicable limits of coverage

VI. CAUSE OF ACTION

 

 

 

 

 

 

VI. REQUESTEDIN (© CHECKIFTHISISACLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes No
VOI. RELATED CASE(S)
IF ANY (Beeinsinictions) ap DOCKET NUMBER
DATE . SIGN. OF ATTORNEY OF RECORD
“ 4jau/ig {ZEEE =
FOR OFFICE USE ONLY wee x oe

RECEIPT # AMOUNT APPLYING TFP. JUDGE MAG. JUDGE
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 2 of 28

JS. 44 Reverse (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)

(b)

©

IL.

III.

VI.

Vil.

Plaintiffs-Defendants. Enter.names (last, first, middle initial) of plaintiff-and defendant. Ifthe plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and

then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed deferidant resides at the time of filing. (NOTE: In land
condemnation cases, the courity of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R:Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States. are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box.1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section. for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from. Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation —Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation ~ Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS. NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.CvP.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 3 of 28
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: Yakitori Boy - 211 N. 11th Street, Philadelphia, PA 19107

 

Address of Defendant: Starr - 399 Park Ave, 8th Fl., New York, NY 1022; Samuel Sierra - 2137 N. Front St., Philadelphia, PA 19122

 

Philadelphia, PA

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No
case filed by the same individual?

I certify that, to my knowledge, the within case [[] is / [2] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: Alaris filo Pm SIE SAX
Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

 

 

CIVIL: (Placea ¥ in one category only)

 

 

 

 

 

A Federal Question Cases: B. Diversity Jurisdiction Cases:
LJ 1. Indemnity Contract, Marine Contract, and All Other Contracts 1. Insurance Contract and Other Contracts
Cl 2. FELA LC] 2. Airplane Personal Injury
(1 3. Jones Act-Personal Injury [1 3. Assault, Defamation
LCI 4. Antitrust [] 4. Marine Personal Injury
H 5. Patent L] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations CL 6. Other Personal Injury (Please specify):
1 7. = Civil Rights [] 7. Products Liability
CJ 8. Habeas Corpus [] 8 Products Liability— Asbestos
fe 9. Securities Act(s) Cases CL] 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
[-] 11. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

L Alexander S. Brown

 

, counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that'to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than. monetary damages is sought.

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Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 4 of 28

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar}
Address of Plaintiff: Yakitori Boy - 211 N. 11th Street, Philadelphia, PA 19107

 

Address of Defendant: Starr - 399 Park Ave, 8th Fl., New York, NY 1022; Samuel Sierra - 2137 N. Front St., Philadelphia, PA 19122

 

Philadelphia, PA

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to.any of the following questions:

1. _ Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No

case filed by the same individual?

I certify that, to my knowledge, the within case [1] is / [2] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

pares A (Ari fig ZZ Ale Sa

 

 

 

 

 

 

 

 

 

Attorrley-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

CIVIL: (Place a ¥ in one category only)
A Federal Question Cases: B. Diversity Jurisdiction Cases:
Cl 3 Indemnity Contract, Marine Contract, and All Other Contracts 1. Insurance Contract and Other Contracts
Lj] 2. FELA [-] 2. Airplane Personal Injury
LI 3. Jones Act-Personal Injury [] 3. Assault, Defamation
OO 4. Antitrust [] 4. Marine Personal Injury
H 5. Patent L] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
L] 7. Civil Rights [J 7. Products Liability
{] 8. Habeas Corpus L] 8. Products Liability — Asbestos

9. Securities Act(s) Cases [| 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
[] 11. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the casé from eligibility for arbitration.)

I, Alexander S. Brown , counsel of record.or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

DATE: A [2 u/is LE LL, Yaw — ZS SX

Attarney-at-Law/ Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
\ olator ‘Boy, Tre. ; CIVIL ACTION

Vv. :
Sox Jrderunty: Liabili y Co., ond | NO.
Seumuel Drea ; .

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. (_ )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. wr
4 lau he Nererndec S. Brows _Stare Endenaity t Lichility, Co
Date Attorney-at-law Attorney for '
m6 7 -692- 301% _DIiS -6F3~66S9 cbt Wn @ gsm C9
Telephone FAX Number E-Mail Address

(Civ. 660). 10/02
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 6 of 28

Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b) In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40,1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

YAKITORI BOY, INC.
211 N. 11" Street
Philadelphia, Pennsylvania 19107

Plaintiff,
Vv.

STARR INDEMNITY & LIABILITY, Co.

399 Park Avenue, 8" Floor
New York, New York 10022

and
SAMUEL SIERRA
2137 N. Front Street
Philadelphia, Pennsylvania 19122

Defendants.

CIVIL ACTION NO.

NOTICE OF REMOVAL

TO: CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

United States District Court
2609 U. S. Courthouse

601 Market Street
Philadelphia, PA 19106

Defendant, Starr Indemnity & Liability Company (“Starr”), by and through undersigned

counsel, Gordon & Rees LLP, files this Notice of Removal of the above-captioned action from

the Court of Common Pleas of Philadelphia County, Pennsylvania, in the September Term, 2018,

Number 001289, in which this action was filed, to the United States District Court for the

Eastern District of Pennsylvania, and in support thereof, avers as follows:

1. This action arises from an insurance coverage dispute between Starr and its
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 8 of 28

insured, Yakitori Boy, Inc. (“Yakitori”) related to Starr’s duty to defend and indemnify Yakitori
in an underlying personal injury action pending in the Philadelphia Court of Common Pleas (the
“Sierra Action’).

2. Neither party disputes that Starr has a duty to defend and (potentially) indemnify
Yakitori in the Sierra Action pursuant to a policy of insurance Starr issued to Yakitori for the
2013-2014 term (the “Policy”). In fact, Starr is currently defending Yakitori in the Sierra Action.
Rather, Yakitori and Starr disagree over the applicable limits of insurance.

3. Yakitori has recently expressed the position that the Policy provides coverage
limits of $1,000,000. Starr submits that Yakitori is only entitled to the Assault and Battery
sublimit of $100,000.

4. Yakitori filed a declaratory judgment action in the Philadelphia Court of Common
Pleas on September 12, 2018 (the “Coverage Action”) seeking a declaration that it is entitled to
coverage limits of $1,000,000. See Coverage Action Complaint at J 21, attached as Exhibit 1.

5. The Complaint names Starr as a defendant. Ex. 1. Starr is a corporation existing
under the laws of the State of Texas and has a principal place of business in the State of New
York. Ex. 1 at 2.

6. Starr has not been formally served with the Complaint. Counsel for Yakitori,
however, forwarded a copy of the Complaint to Starr’s Counsel on September 12, 2018. See
September 12, 2018 e-mail from James Pearl to William Shelley, attached as Exhibit 2.

7. The Complaint also names Samuel Sierra, the plaintiff in the underlying Sierra
Action, as a nominal defendant pursuant to 42 Pa.C.S.A. § 7540. Sierra is a resident of the
Commonwealth of Pennsylvania. Exhibit 1 at ¥ 3.

8. 42 Pa.C.S.A. § 7540 provides that: “When declaratory relief is sought, all persons
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 9 of 28

shall be made parties who have or claim any interest which would be affected by the declaration,
and no declaration shall prejudice the rights of persons not parties to the proceeding.”

9. Sierra’s interest in the Coverage Action derives from his status as a potential
recipient of the insurance proceeds. To the extent that Sierra obtains a judgment against Yakitori
or settles the Sierra Action with Yakitori, such settlement or judgment may be paid for, at least in
part, by the proceeds from the Starr Policy. Sierra is therefore interested in obtaining a
declaration that the policy limits are $1,000,000 as opposed to $100,000.

10. Although Sierra is listed as a nominal defendant in the Coverage Action, his
interests are aligned with Yakitori’s for purposes of this litigation.

11.  Acopy of this Notice of Removal is being filed with the Prothonotary of the
Court of Common Pleas of Philadelphia County, Pennsylvania, and is being served upon
plaintiffs and all parties of record pursuant to 28 U.S.C. 1446(d).

12. The Eastern District of Pennsylvania is the proper district for removal pursuant to
28 U.S.C. §§ 118(a) and 1441(a) in that the Eastern District of Pennsylvania encompasses the
County of Philadelphia, and “is the district and division embracing the place where such action is

pending.”

SUBJECT MATTER JURISDICTION

13. | Subject matter jurisdiction is proper pursuant to 28 U.S.C. § 1332(a) in that this is
an action between citizens of different States.

14. The Plaintiff, Yakitori, is an individual and citizen of the Commonwealth of
Pennsylvania. Exhibit 1 at ] 1.

15. Defendant Starr is a citizen of both Texas and New York, and nominal Defendant

Sierra is a citizen of Pennsylvania.
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 10 of 28

16. Although Yakitori and Sierra are citizens of the same state, Sierra’s citizenship
does not destroy diversity because this Court must look beyond the party designations pled by
Yakitori and align the parties based upon their genuine interests in the lawsuit. City of
Indianapolis v. Chase Nat'l Bank, 314 U.S. 63, 69 (1941) (“It is our duty, as it is that of the lower
federal courts, to look beyond the pleadings and arrange the parties according to their sides in the
dispute.”) (internal citations omitted). “Where party designations have jurisdictional
consequences,” a court must “align the parties before determining jurisdiction.” Dev. Fin. Corp.
v. Alpha Housing & Health Care, Inc., 54 F.3d 156, 160 (3d Cir. 1995).

17. In determining whether realignment of parties is appropriate, the Third Circuit
employs the “primary purpose” or “primary issue” test. Emp'rs Ins. of Wausau v. Crown Cork &
Seal Co., Inc., 942 F.2d 862, 864 (3d Cir. 1991). Under this test, the Court looks to the “primary
and controlling matter in dispute” and “plaintiff's principal purpose for filing its suit.” Jd.

18. After identifying the primary issue in controversy in the action, the court must
then evaluate whether there is a genuine conflict between the parties regarding that issue. Kelly
v. Maxum Specialty Ins. Grp., No. 14-7149, 2018 U.S. Dist. LEXIS 3526, at *11 (E.D. Pa. Jan. 9,
2018).

19. In this coverage action, the primary issue (really the only issue) concerns the
coverage limits available under the Policy.

20. As the plaintiff in the underlying case, Sierra’s only interest is in collecting a
potential judgment against Yakitori. The greater the Policy’s limits of insurance, the more
money Sierra may be able to recover.

21. Sierra’s interests are therefore directly aligned with Yakitori’s position that the

Policy provides $1,000,000 in limits, and adverse to Starr’s position that the Policy is limited to
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 11 of 28

the $100,000 sublimit. See Kelley, 2018 U.S. Dist. LEXIS 3526, at *17 (holding that
realignment was proper because the underlying plaintiff's interests were properly aligned with
the insured seeking coverage, and adverse to the insurer who declined to provide a defense in the
underlying lawsuit).

22. This Court, therefore, should realign the parties so that both Yakitori and Sierra
are named plaintiffs. Jd.

23. | When properly aligned, removal is proper because there is complete diversity
between Defendant Starr, a citizen of Texas and New York, and Plaintiffs Sierra, and Yakitori,
who are citizens of Pennsylvania.

24. The subject matter jurisdictional amount is satisfied here because Yakitori is
seeking a determination that the Policy provides $1,000,000 in coverage, which exceeds
$75,000, exclusive of interest and costs.

25. Accordingly, this Court has subject matter jurisdiction, founded on diversity of
citizenship under 28 U.S.C. § 1332(a).

REMOVAL JURISDICTION

26. Insofar as subject matter jurisdiction is being invoked pursuant to 28 U.S.C.
§1332(a), 28 U.S.C. § 1441(b) does not apply or operate to prevent removal, because, when
properly aligned, there is no defendant that is a citizen of the forum.

27. Removal jurisdiction exists, and it is therefore proper for this matter to be
removed to the United States District Court for the Eastern District of Pennsylvania.

WHEREFORE, notice is given that the state court action is removed from the Court of
Common Pleas of Philadelphia County, Pennsylvania, to the United States District Court for the

Eastern District of Pennsylvania.
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Dated: September 24, 2018

Respectfully submitted,

/s/ Alexander S. Brown
William P. Shelley
Alexander S. Brown
Gordon & Rees, LLP
1717 Arch Street, Suite 610
Philadelphia, PA 19103
(215) 717-4001
wshelley@gordonrees.com
Attorneys for Defendant
Starr Indemnity & Liability Company

 
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Exhibit 1
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 14 of 28

 

Court of Common Pleas of Philadelphia County
Teal Division SEPTEMBER 2018

Civil Cover Sheet E-Fiing Number: 1809020439 001289

 

PLAINTIFF'S NAME DEFENDANT'S NAME

__ For Prothonotary Use Only (Docket Number)

}

 

 

YAKITORI BOY, INC. . STARR INDEMNITY & LIABILITY COMPANY
PLAINTIFF'S ADDRESS | DEFENDANT'S ADDRESS

211 N. 11TH STREET ' 399 PARK AVENUE, 8TH FLOOR
PHILADELPHIA PA 19107 NEW YORK NY 10022

PLAINTIFF'S NAME , DEFENDANT'S NAME

SAMUEL STERRA

 

PLAINTIFF'S ADDRESS : DEFENDANT'S ADDRESS
» 2137 N. FRONT STREET

PHILADELPHIA PA 19122

 

 

 

 

 

[ PLAINTIFF'S. NAME ' DEFENDANT'S NAME
PLAINTIFF'S ADDRESS : DEFENDANT'S ADDRESS
TOTAL NUMBER OF PLAINTIFFS ) TOTAL NUMBER.OF DEFENDANTS ' COMMENCEMENT OF ACTION
1 2 : il] Complaint 1 Petition Action C1 Notice of Appeal
; O Writ of Summons Cl Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY COURT PROGRAMS
(I $50,000.00 or } . (7) Arbitration [1 Mass Tort KJ Commerce [1 Settlement
sUOU.0N OF Less C1 Sury I savings Action (1 Minor Court Appeal CO Minors
[Xx] More than $50,000.00 CI Non-Jury C1 Petition oO Statutory Appeals C1 wpisurvival :
C1 other:

 

 

 

CASE TYPE AND CODE
1D —- INSURANCE, DECLARATORY JUDGMNT

 

STATUTORY BASIS FOR CAUSE OF ACTION

 

| RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER) ALED IS CASE SUBJECT TO
: COORDINATION ORDER?
PRO PROTHY YES Ne

SEP 12 2018
A, SILIGRINI

 

 

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appeliant: YAKITORI BOY, INC.

Papers may be served at the address set forth below.

 

 

 

 

 

 

 

FINAL COPY (Approved by the Prothonotary Clerk)

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY . ADDRESS

JAMES L. PEARL 1500 JOHN F. KENNEDY BOULEVARD

SUITE 3900 !

PHONE NUMBER » FAX NUMBER PHILADELPHIA PA 19102

(215) 586-4422 ‘none entered ‘
SUPREME COURT IDENTIFICATION NO. —E ST E-MAIL ADDRESS |

82374 | james@jamespearl.com
SIGNATURE OF FILING ATTORNEY OR PARTY DATE SUBMITTED

JAMES PEARL Wednesday, September 12, 2018, 10:41 am
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Exhibit 1
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COMMERCE PROGRAM ADDENDUM
TO CIVIL COVER SHEET

This case is subject to the Commerce Program because it is not an arbitration matter and it falls within one or
more of the following types (check all applicable):

10.

EFS #1809020439

Actions relating to the internal affairs or governance, dissolution or liquidation, rights or obligations
between or among owners (shareholders, partners, members), or liability or indemnity of managers
(officers, directors, managers, trustees, or members or partners functioning as managers) of business
corporations, partnerships, limited partnerships, limited liability companies or partnerships,
professional associations, business trusts, joint ventures or other business enterprises, including but
not limited to any actions involving interpretation of the rights or obligations under the organic law
(e.g., Pa. Business Corporation Law), articles of incorporation, by-laws or agreements governing such
enterprises;

Disputes between or among two or more business enterprises relating to transactions, business
relationships or contracts between or among the business enterprises. Examples of such transactions,
relationships and contracts include:

a. Uniform Commercial Code transactions;

b. Purchases or sales of business or the assets of businesses;
Sales of goods or services by or to business enterprises;

d. Non-consumer bank or brokerage accounts, including loan, deposit cash
management and investment accounts;
Surety bonds;

f. Purchases or sales or leases of, or security interests in, commercial, real
or personal property; and

g. Franchisor/franchisee relationships.

Actions relating to trade secret or non-compete agreements;

"Business torts,” such as claims of unfair competition, or interference with contractual relations or
prospective contractual relations;

Actions relating to intellectual property disputes;
Actions relating to securities, or relating to or arising under the Pennsylvania Securities Act;

Derivative actions and class actions based on claims otherwise falling within these ten types, such as
shareholder class actions, but not including consumer class actions, personal injury class actions, and
products liability class actions;

Actions relating to corporate trust affairs;

Declaratory judgment actions brought by insurers, and coverage dispute and bad faith claims brought
by insureds, where the dispute arises from a business or commercial insurance policy, such as a
Comprehensive General Liability policy;

Third-party indemnification claims against insurance companies where the subject insurance policy
is a business or commercial policy and where the underlying dispute would otherwise be subject to
the Commerce Program, not including claims where the underlying dispute is principally a personal
injury claim.

\edraddm 5/07
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 17 of 28

James L. Pearl, Esquire
Attorney I.D. No. 82374

 

 

 

 

 

1500 John F. Kennedy Boulevard, Suite 900 Filed and Attested by the
Philadelphia, Pennsylvania 19102 eee oe pang ay fecords
(215) 586-4422 A. SILIGRINI
Attomey for Plaintiff Yakitori Boy, Inc.
YAKITORI BOY, INC, COURT OF COMMON PLEAS
211 N. 11™ Street PHILADELPHIA COUNTY, PA
Philadelphia, Pennsylvania 19107
SEPTEMBER TERM, 2018
Plaintiff
Vv. No.
STARR INDEMNITY & LIABILITY COMPANY
399 Park Avenue, 8" Floor
New York, New York 10022
and
SAMUEL SIERRA
2137 N. Front Street
Philadelphia, Pennsylvania 19122
Defendants
NOTICE TO PLEAD
NOTICE ADVISO

You have been sued in court. If you wish to defend against the | Le han demandada a usted en la corte. Si usted quiere
claims set. forth in the following pages, you must take action | defenderse de estas demandas expuestas en las paginas
with twenty (20) days after this complaint and notice are served, | siguientes, usted tiene veinte (20) dias de plazo al partir
by entering a written appearance personally or by attorney and | de la fecha de !a demanda y la notificiacion. Hace falta
filing in writing with the court your defenses or objections to | asentar una comparencia escrita 6 en persona o con un
the claims set forth against you. You are warned that if you fail | abogado y entegra a la corte en forma escrita sus
to do so the case may proceed without you and a judgment may | defenses o sus objeciones a las demandas en contra de
be entered against you by the court without further notice for | su persona. Sea avisado que si usted no se defiende, la
any money claimed in the complaint or for any other claim or | corte tomara medidas y puede continuar la demanda en
relief requested by the Plaintiff. You may lose money or | contra suya sin previo aviso o notificacion. Ademas, la
property or other rights important to you. corte puede decidir a favor del demandante y requiere
You should take this paper to your lawyer at once. If you do | qué usted cumpla con todas Jas provisiones de esta
not have a lawyer or cannot afford one, go to or telephone the | demanda. Usted puede perer dinero o sus propiedades
office set forth below to find out where:you can get legal help. uotros derechos importantes para used.
: : a Lleva-esta demanda a un abogado inmediatamente. Si no
Philadelphia County Bar Association tiene abogado o si to tiene el dinero suficiente de pagar
Lawyer Referral and Information Service tal servicio. Vaya en persona o Ilame por telefono a Ja
One Reading Center oficina cuya direccion se encuentra escrita abajo para
Philadelphia, PA 19107 averiguar donde se puede conseguir asistencia legal.

(215) 238-6333 Asociacion de Licenciados de Filadelfia
TTY (215) 451-6197 Servicio de Referencia e Informacion Legal
One Reading Center

Philadelphia, PA 19107
(215) 238-6333
(215) 451-6197

 

 

 

 

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COMPLAINT FOR DECLARATORY JUDGMENT

Plaintiff Yakitori Boy, Inc. (hereinafter "Yakitori Boy"), by and through its undersigned
attorney, James L. Pearl, Esquire, for its Complaint for Declaratory Judgment against Defendants
Starr Indemnity & Liability Company (hereinafter "Starr") and Samuel Sierra (hereinafter
"Sierra") alleges as follows:

THE PARTIES

1, Yakitori Boy is a corporation duly incorporated and validly existing under the laws
of the Commonwealth of Pennsylvania with an address at 211 N. 11" Street, Philadelphia,
Pennsylvania 19107.

2. Starr is a corporation duly incorporated and validly existing under the laws of the
State of Texas with an address at 399 Park Avenue, 8" Floor, New York, New York 10022.

3. Sierra is an individual resident of the Commonwealth of Pennsylvania with, upon
information and belief, an address at 2 137 N. Front Street, Philadelphia, Pennsylvania 19122.

GROUNDS FOR DECLARATORY JUDGMENT

4. Starr issued policy No. SISAM 03391-14 (hereinafter the "Policy") to Yakitori Boy
for the period from March 14, 2014 through March 14, 2015. A copy of the Policy is attached
hereto as Exhibit A.

5. Yakitori Boy seeks a declaration pursuant to the Declaratory Judgments Act. (42
Pa.C.S.A. §7531 et seq.) (hereinafter the "Act") that Starr is required to defend and indemnify
Yakitori Boy in connection with the action filed in this Honorable Court by Sierra against Aaron
Gordon (hereinafter "Gordon"), Chris Schmid (hereinafter "Schmid") and Yakitori Boy captioned as

Sierra v. Gordon et. al., December 2016 Term; No. 02900 (hereinafter the "Sierra Action") in an

 

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amount up to the limits of liability under the Liquor Liability insurance coverage provided by Starr
to Yakitori Boy under the Policy.

6. Sierra is made a party to this action pursuant to 42 Pa.C.S.A. §7540 as he may have
or he may claim an interest which may be affected by the declaration entered by this Honorable
Court in this action and so that any declaration may also binding upon him.

7. A controversary exists between Starr, Yakitori Boy and Sierra, and by the terms and
provisions of the Act, this Honorable Court is invested with the power to declare the nights and
liabilities of Yakitori Boy, Starr and Sierra and to order such other relief as this Honorable Court
deems appropriate under the facts and circumstances.

THE SIERRA ACTION

8. On March 14, 2017, Sierra filed his Second Amended Complaint, a copy of which is

 

attached hereto as Exhibit B, alleging in relevant part as follows:
a. On December 24, 2014, at approximately 1:00 A.M., Sierra was walking

with a group of individuals at or near 200 S. 12 Street in Philadelphia. See Exhibit B, 96.

 

b. Plaintiff was then approached by a group of individuals including Gordon
and Schmid. See Exhibit B, 4/7.
c. Suddenly and without warning, Gordon and Schmid struck Plaintiff about

his face and head with a closed fist. See Exhibit B, 79.

 

d. Plaintiff then attempted to stand up after being assaulted and Gordon and/or
Schmid then again punched and/or kicked Sierra about his face and head with a closed fist causing
Sierra to lose consciousness. See Exhibit B, 10.

e. Gordon and/or Schmid's conduct was the result of intoxication. See Exhibit

B, {15.

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f. As a result of Gordon and/or Schmid's conduct, Sierra suffered severe

personal injuries, including, but not limited to, brain bleed, traumatic brain injury, post-concussive

 

syndrome, memory loss, confusion and seizure disorder. See Exhibit B, 416.

g. Upon information and belief, Gordon and Schmid spent significant time at
Yakitori Boy and were served multiple alcoholic beverages despite both exhibiting clear signs of
visible intoxication, including, but not limited to, slurred speech, bloodshot eyes, stuporous
behavior, staggering while walking, difficulty sitting and standing and loud and boisterous conduct

while at Yakitori Boy before leaving around closing time. See Exhibit B, 432.

 

h. Yakitori Boy, through their agents, servants and/or employees supplied,
furnished, served and/or sold liquor and alcoholic beverages to Gordon and Schmid notwithstanding

the fact that Gordon and Schmid were visibly intoxicated. See Exhibit B, 430.'

 

i. As a further proximate and foreseeable result of Yakitori Boy's act of
supplying, furnishing, serving and/or selling alcoholic beverages to visibly intoxicated patrons,
Yakitori Boy knew or should have known that such acts could have caused aggressive behavior
resulting in Sierra’ injuries. See Exhibit B, $32.

j. Yakitori Boy's carelessness and negligence consisted of the following:
continuously and repeatedly serving alcoholic beverages to its patrons, including Gordon and
Schmid, despite the knowledge that Gordon and Schmid were visibly intoxicated; negligence per se
as being in violation of 47 Pa.C.S.A. 4-493(1) unlawful acts relative to liquor, malt and beverages
and licenses; failing to have responsible management alcohol program "RAMP" to prevent the
service of alcohol to visibly intoxicated persons in violation of 47 Pa.C.S.A. 4-493; and failing to

hire proper and qualified bartenders, as well as, have proper and/or other sufficient bartender

 

1 The paragraphs of Count ILI of Plaintiff's Second Amended Complaint are numbered as follows: 31, 32, 30, 31, 32,
33, 34 and 35.

4
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training to prevent the service of alcohol to visibly intoxicated patrons in violation of 47 Pa.C.S.A.
4-493. See Exhibit B, (33.
k. Yakitori Boy's carelessness and negligent acts and omissions combined with

the actions of Gordon and Schmid caused Sierra to suffer serious personal injuries. See Exhibit B.

 

34.
THE POLICY

9. The Policy provides, inter alia, Commercial General Liability, Liquor Liability and
Assault and Battery insurance coverages to Yakitori Boy.

10. The Commercial General Liability insurance coverage under the Policy is subject to
$1 million for each occurrence and $2 million general aggregate limits of liability which Yakitori
Boy "becomes legally obligated to pay as damages because of ‘bodily injury’ or ‘property damage’ to
which this insurance applies" caused by an "occurrence."

11. The Liquor Liability insurance coverage under the Policy is subject to $1 million for
each common cause and $1 million in the aggregate limits of liability and provides that Starr "will
pay those sums that the insured becomes legally obligated to pay as damages because of ‘injury’ to
which this insurance applies if liability for such ‘injury’ is imposed on the insured by reason of the
selling, serving or furnishing of any alcoholic beverage.”

12. | The Policy also includes an endorsement for Assault and Battery (hereinafter the
"Endorsement") subject to $100,000 for each occurrence and $100,000 in the aggregate limits of
liability for "those sums that the insured becomes legally obligated to pay as damages for ‘bodily
injury’, ‘property damage’, or ‘personal and advertising injury’ arising from ‘Assault and/or Battery."

13. | The Endorsement modifies the insurance coverages under the Commercial General

Liability and Liquor Liability policies and defines Assault and/or Battery as follows:

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"Assault and/or Battery’ means:

a.

actual or threatened assault or battery whether caused by or at
the instigation or direction of any insured, his ‘employees’,
patrons or any other persons; or

the failure of any insured or anyone else for whom any
insured is legally responsible to prevent or suppress assault;
or

battery; or

sexual assault and battery;

the negligent:

(1) employment;

(2) investigation;

(3) supervision;

(4) training;

(5) retention

of a person for whom any insured is or ever was legally

responsible and whose. conduct is described in a., b., c. and
d. above.

14. The claims alleged by Sierra in the Sierra Action meet the definition of "Injury"

and/or "Bodily Injury" as defined in the Policy.

STARR'S DEFENSE OF YAKITORI BOY

15. Starr has been defending Yakitori Boy in the Sierra Action since the commencement

of the Sierra Action.

16. By letter, dated August 14, 2018, Specialty Insurance Agency, as the managing

general agency for Starr, advised Yakitori Boy that, in defense of the Sierra Action, Starr would not

be providing coverage to Yakitori Boy under the coverage limits of liability under the Liquor

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Liability insurance in the amount of $1 million for each common cause and $1 million in the
aggregate, but, rather, Starr would only be providing coverage to Yakitori Boy under the coverage
limits of liability under the Endorsement in the amount of $100,000 for each occurrence and
$100,000 in the aggregate. A copy of the letter from Specialty Insurance Agency to Yakitori Boy,
dated August 14, 2018, is attached hereto as Exhibit C.
COUNT I - DECLARATORY JUDGMENT
COVERAGE UNDER THE LIQUOR LIABILITY INSURANCE PROVIDED
BY STARR TO YAKITORI BOY APPLIES TO ALL CLAIMS AGAINST
YAKITORI BOY AS ALLEGED IN THE SIERRA ACTION

17. Yakitori Boy repeats and realleges each and every allegation set forth in
Paragraphs 1 through 16 above as though fully set forth herein.

18. Starr issued the Policy to Yakitori Boy for the period from March 14, 2014
through March 14, 2015.

19. The Liquor Liability insurance coverage under the Policy provides that Starr "will
pay those sums that the insured becomes legally obligated to pay as damages because of ‘injury'
to which this insurance applies if liability for such ‘injury' is imposed on the insured by reason of
the selling, serving or furnishing of any alcoholic beverage.”

20. The Liquor Liability insurance coverage under the Policy is also subject to $1
million for each common cause and $1 million in the aggregate limits of liability.

21. The Liquor Liability insurance coverage under the Policy applies to all claims
against Yakitori Boy as alleged in the Sierra Action.

WHEREFORE, Yakitori Boy respectfully requests that this Honorable Court enter
judgment as follows:

a. Declaring that Starr has a duty to defend Yakitori Boy and that the Liquor

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Liability insurance coverage under the Policy applies to all claims against Yakitori Boy as
alleged in the Sierra Action.

b. Declaring that Starr's obligation to defend and indemnify Yakitori Boy in
connection with the Sierra Action shall be subject to limits of liability in the amount of $1
million for each common cause and $1 million in the aggregate; .

c. Declaring that Starr has a duty to reimburse Yakitori Boy for all costs and fees,
including attorneys’ fees, incurred by Yakitori Boy in pursuing this declaratory judgment action;
and

d. Granting such further relief as the Court may deem appropriate.

Dated: September 12, 2018 /s/ James L. Pearl
James L. Pearl, Esquire
Attorney I.D. No. 82374
1500 John F. Kennedy Boulevard, Suite 900
Philadelphia, Pennsylvania 19102
(215) 586-4422
Attomey for Plaintiff Yakitori Boy, Inc.

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VERIFICATION

I, Jin Shen, on behalf of Yakitori Boy, Inc., state that the allegations contained in the
foregoing Complaint for Declaratory Judgment are true and correct to the best of my knowledge,
information and belief and | understand that this Verification is made subject to the penalties of

18 Pa.C.S. §4904 relating to unsworn falsification to authorities.

Jin Shen

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CERTIFICATE OF COMPLIANCE
I, James L. Pearl, Esquire, certify that this filing complies with the provisions of the
Public Access Policy of the Unified Judicial System of Pennsylvania: Case Records of the
Appellate and Trial Courts that require filing confidential information and documents differently

than non-confidential information and documents.

/s/ James L. Pearl

James L. Pearl, Esquire

Attorney I-.D. No. 82374

1500 John F. Kennedy Boulevard, Suite 900
Philadelphia, Pennsylvania 19102

(215) 586-4422

Attorney for Plaintiff Yakitori Boy, Inc.

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Exhibit 2
Case 2:18-cv-04094-MMB Document1 Filed 09/24/18 Page 28 of 28

 

Amanda Whyte

From: James Pearl <james@jamespearl.com>

Sent: Wednesday, September 12, 2018 11:25 AM

To: sledva@defensecounsel.com; William Shelley; adenenberg@adlawfirm.com

Subject: Yakitori Boy, Inc. v. Starr Indemnity & Liability Company et al.

Attachments: Exhibits B and C.pdf; Complaint.pdf; Exhibit A - Part 1.pdf; Exhibit A - Part 2.pdf; Exhibit
A - Part 3.pdf

Gentlemen,

Kindly be advised that | represent Yakitori Boy, Inc. in connection with the above-captioned matter. | am now attaching a
copy of the Complaint with the attached exhibits which was filed in the Court of Common Pleas this morning.

In light of the filing of this matter, | would suggest that the matter filed by Mr. Denenberg against Yakitori Boy, Inc. be
stayed pending the Court's decision in this matter.

Mr. Denenberg, would kindly advise me as to whether you will accept service of the Complaint on behalf of Mr. Sierra.

Mr. Ledva and/or Mr. Shelley, would also kindly advise me as to whether you will accept service of the Complaint on
behalf Starr Indemnity & Liability Company.

James L. Pearl, Esquire

1500 John F. Kennedy Boulevard, Suite 900
Philadelphia, Pennsylvania 19102
Telephone: 215-586-4422

Facsimile: 215-309-6449

E-Mail: james@jamespear|.com
www.jamespearl.com

 

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